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                                      ORDERED.


         Dated: March 05, 2019




                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION
                                    www.flmb.uscourts.gov


In re:                                          Case No. 6:19-bk-00200-KSJ
                                                Chapter 7
Allen Harden
Darla Harden,


          Debtor.             /

          ORDER AUTHORIZING THE RETENTION OF BK GLOBAL REAL ESTATE
                            SERVICES AND CENTURY 21 CARIOTI


                 THIS CASE came on for consideration without hearing on the Trustee’s Application

to Retain BK Global Real Estate Services and Century 21 CARIOTI upon the Notice and Application

of Dennis Kennedy, the trustee in the above-captioned case (“Trustee”), to Retain BK Global Real

Estate Services and Century 21/Kavita Uttamchandani to Procure Consented Public Sale pursuant to

11 U.S.C. § § 327, 328 and 330 (“Application”) [Docket No. 17], the Court concludes that BK Global

Real Estate Services and Century 21 CARIOTI do not hold or represent any interest adverse to the

estate and are disinterested persons within the meaning of Section 101(14) of the Bankruptcy Code.

The Court further concludes that BK Global Real Estate Services and Century 21 CARIOTI are
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qualified to represent the Trustee and that the Court’s authorization of their employment is in the best

interest of the estate.



        Accordingly, it is

        ORDERED the Application is granted and the Court approves the retention of BK Global Real

Estate Services and Century 21 CARIOTI to sell real property located at 4913 Chuluota Rd., Orlando,

FL 32820. All compensation authorized is subject to provisions of Section 330 of the Bankruptcy

Code.



Trustee Dennis D. Kennedy is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and to file a proof of service within 3 days of entry of the order.




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